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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,

     v.                              No. 1:17-cv-11008

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and                 PUBLIC
HOSPIRA, INC.                        REDACTED VERSION

                 Defendants.


       MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION
TO EXCLUDE CERTAIN OPINIONS OF MICHAEL BUTLER AND RICHARD LIT
            REGARDING DAMAGES AND INFRINGEMENT
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I.     INTRODUCTION

       The Court should exclude the opinions of Janssen expert witnesses Dr. Michael Butler and

Richard Lit relating to whether cell culture media made in Singapore infringes U.S. Patent No.

7,598,083 (“’083 patent”). When Janssen filed this case, it asserted infringement by two cell

culture media products made in Logan, Utah by GE HyClone. In 2016, during the liability phase

of the case, GE HyClone moved manufacturing of the accused cell culture media from Utah to

Singapore. Janssen went through all liability discovery, served liability expert reports, and was

ready to go to trial on liability issues in early 2017, having never once asserted that the Singapore-

made media infringes.



       The ability to make the media in Singapore plays a critical role in the damages portion of

the case. To carry its burden on its lost profits damage claim, Janssen must prove (among other

things) the absence of a non-infringing alternative cell culture media. Panduit Corp. v. Stahlin

Bros. Fibre Works, 575 F. 2d 1152, 1156 (6th Cir. 1978). One of Defendants’ proffered non-

infringing alternatives is that GE HyClone could have manufactured the accused cell culture media

at GE HyClone’s Singapore facility (as it actually now does in the real world). Making the accused

media in Singapore would be a non-infringing alternative because to infringe, the accused media

has to be made “within the United States.” 35 U.S.C. § 271(a). Thus, Janssen realized its approach

regarding the Singapore media would gut its

       So in late 2017, Janssen changed course and added a new claim that the Singapore media

infringes under 35 U.S.C. § 271(f)(1), followed by a proffer of damages “expert” reports, one from

Dr. Michael Butler and one from Richard Lit, asserting that the Singapore media is not a non-

infringing alternative because it infringes under § 271(f)(1). Infringement under § 271(f)(1) has

four requirements: (1) a party supplied or caused to be supplied from the United States components
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of a patented invention, (2) the components supplied from the United States are “all or a substantial

portion of the components of a patented invention,” (3) the components are “uncombined in whole

or in part,” and (4) the components are supplied in a “manner as to actively induce the combination

of such components outside of the United States in a manner that would infringe the patent if such

combination occurred within the United States.” 35 U.S.C. § 271(f)(1).

       Dr. Butler’s and Mr. Lit’s opinions on § 271(f)(1) should be excluded for two reasons.

First, Dr. Butler and Mr. Lit opine that Singapore-made media infringes the ’083 patent, but neither

one actually analyzed all of the elements of § 271(f)(1). They only “analyzed” whether a

“substantial portion” of the components are supplied from the United States, and ignored the rest.




       Second, the single element Dr. Butler and Mr. Lit did “analyze”—whether the ingredients

exported from the United States to Singapore constitute, numerically, “a substantial portion” of

the patented invention—is not an expert opinion. It requires no scientific, technical, or regulatory

expertise—it is just a simple “quantitative” counting exercise. Life Techs. Corp. v. Promega Corp.,

137 S. Ct. 734, 743 (2017). Indeed, this Court already noted that “the substantiality of a portion of

the patented components for 271(f) analysis is a quantitative measure[ment]” and that “might limit

expert testimony.” See Dkt. 187 at 132:1–10. By proffering expert reports on this issue, Janssen

seeks to put an “expert sheen on matters well within the jury’s own ordinary experience and

common sense,” in this case, simple arithmetic. U.S. ex rel. Dyer v. Raytheon Co., No. 08–10341–




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DPW, 2013 WL 5348571, at *12 (D. Mass. Sept. 23, 2013) (quoting Hecht v. Waterville Dev.

Corp., No. 05–cv–462, 2007 WL 542151, at *2 (D.N.H. Feb. 16, 2007)). Courts are rightfully

concerned about allowing such testimony: because expert “testimony can carry with it an

unwarranted ‘aura of special reliability and trustworthiness,’ courts must guard against letting it

intrude in areas that jurors, by dint of common experience, are uniquely competent to judge without

the aid of experts.” United States v. Pires, 642 F.3d 1, 12 (1st Cir. 2011).

       Finally, the Court should exclude Dr. Butler’s opinion on § 271(f)(1) because he merely

parrots Mr. Lit’s opinions, and performed no additional substantive analysis. An expert should not

be permitted to adopt another expert’s opinions “wholesale,” perform no analysis of his own, and

thus testify as a “me too” expert with no reliable basis for his own opinion. See, e.g., Burst v. Shell

Oil Co., 120 F. Supp. 3d 547, 554 (E.D. La. 2015) (excluding proffered expert’s testimony).

Consequently, Dr. Butler’s and Mr. Lit’s § 271(f)(1) opinions should be excluded.

II.    FACTUAL BACKGROUND

       At the outset of this case, Janssen alleged that two cell culture media made in Logan, Utah

by GE HyClone infringe the ’083 patent. Dkt. 1 (Complaint) at ¶ 1. In 2016, Celltrion began

purchasing the accused media from GE HyClone’s facility in Singapore. Janssen, despite being

aware of this change in sourcing, did not allege that the Singapore-made versions of these media

infringed the ’083 patent for fourteen months.

       During damages discovery in December 2017, when confronted with the Singapore media

as a non-infringing alternative, Janssen filed a new counter-claim alleging for the first time that

the Singapore-made media infringes under 35 U.S.C. § 271(f)(1). Dkt. 94 ¶¶ 33–51. In response

to subpoenas from Janssen and Defendants, GE HyClone produced




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         The substance of both Dr. Butler’s and Mr. Lit’s opinions related to § 271(f)(1) is set forth

in “supplemental” opening reports that each served almost two months after their opening reports.

Ex. 4 (Lit Supp.); Ex. 5 (Butler Supp.). The only element of § 271(f)(1) either “analyzed” was

whether “all or a substantial proportion of the media components were supplied from the United

States to be combined in Singapore.” See, e.g., Ex. 6 (Lit Op.) ¶ 24; Ex. 4 (Lit Supp.) ¶ 8; Ex. 7

(Lit Reply) ¶ 24.




                                               Neither Dr. Butler nor Mr. Lit substantively analyze

the other elements of § 271(f)(1), such as whether Celltrion or Hospira supply or cause to be

supplied the claimed components, and whether there is any relevant intent.

III.     LEGAL STANDARD

         Federal Rule of Evidence 702 “assign[s] to the trial judge the task of ensuring that an

expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.” Daubert

v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993). The burden is on Janssen, as the proponent

of the expert at issue, to prove that each of the requirements of Rule 702 are met by the

preponderance of the evidence. United States v. Tetioukhine, 725 F.3d 1, 6 (1st Cir. 2013);

McGovern ex rel. McGovern v. Brigham & Women's Hosp., 584 F. Supp. 2d 418, 422 (D. Mass.

2008).




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IV.    ARGUMENT

       A.      The Court should exclude Dr. Butler’s and Mr. Lit’s opinions regarding
               infringement under § 271(f) because they addressed only a fraction of the
               statutory requirements.

       Although Dr. Butler and Mr. Lit opine that “the Singapore Media in fact infringe the ’083

patent and are therefore not a non-infringing alternative,” they did not consider all of the

requirements of that section. See Ex. 9 (Butler Op.) ¶ 125. Section 271(f)(1) states:

               Whoever without authority supplies or causes to be supplied in or
               from the United States all or a substantial portion of the components
               of a patented invention, where such components are uncombined in
               whole or in part, in such manner as to actively induce the
               combination of such components outside of the United States in a
               manner that would infringe the patent if such combination occurred
               within the United States.

35 U.S.C. § 271(f)(1). Thus, in order to make out a case of infringement under § 271(f), one must

prove that (1) a party supplies (or causes to be supplied) from the United States components of a

patented invention, (2) the components are “all or a substantial portion of the components of a

patented invention,” (3) the “components are uncombined in whole or in part,” and (4) the

components are supplied “in such manner as to actively induce the combination of such

components outside of the United States in a manner that would infringe the patent if such

combination occurred within the United States.” 35 U.S.C. § 271(f)(1). The statute’s “active[]

induce[ment]” prong includes “a requisite showing of intent.” Liquid Dynamics Corp. v. Vaughn

Co., Inc., 449 F.3d 1209, 1222 (Fed. Cir. 2006); see also Zoltek Corp. v. United States, 672 F.3d

1309, 1334 n.6 (Fed. Cir. 2012) (Dyk, J., dissenting) (noting that the text of § 271(f)(1) mimics

the language of § 271(b) and the text of § 271(f)(2) mimics the language of § 271(c)).

       Dr. Butler and Mr. Lit substantively “analyzed” only one of the elements,




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       Dr. Butler and Mr. Lit offer no substantive opinion or analysis on any other aspect of §

271(f)(1).



                                                              Their reports contain no analysis in

support of Janssen’s allegation that Celltrion and Hospira caused these raw materials to be supplied

from the United States. Dkt. 94 ¶¶ 33–51.

       Likewise, neither expert considered or offered an opinion on whether Celltrion and Hospira

(or GE HyClone) “actively induce[d] the combination of such components outside of the United

States in a manner that would infringe the patent if such combination occurred within the United

States.” 35 U.S.C. § 271(f)(1); see e.g., Ex. 2 (Lit Dep. Tr.) at 132:7–15, 140:5–17, 106:23–107:2;

Ex. 1 (Butler Reply) ¶ 86. Indeed, Defendants deny the accused media infringe because the media

have 12 and 13 differences from the claims of the ’083 patent,




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       Therefore, the Court should exclude Dr. Butler’s and Mr. Lit’s ultimate opinion that the

media GE HyClone manufactures in Singapore infringes the ’083 patent. As this Court has

recognized, an expert “opinion based on an erroneous understanding of the law will be excluded

because it would not be helpful to the jury.” Fed. Rs. Evid. 403, 702(a); 1:15-cv-10698 Dkt. 476.

As Dr. Butler and Mr. Lit did not actually address every element of § 271(f)(1), the Court should

not allow them to opine that media made at GE HyClone’s Singapore plant infringes the ’083

patent under that section. Carapellucci v. Town of Winchester, 707 F. Supp. 611, 619 (D. Mass.

1989); see also Martinez v. Porta, 601 F. Supp. 2d 865, 866 (N.D. Tex. 2009); AAMP of Fl., Inc

v. Auto. Data Sols., Inc., No: 8:13-cv-2019, 2015 WL 12843845, at *9 (M.D. Fla. Oct. 8, 2015)

(expert’s opinions “based on an incorrect legal standard” are excluded because “those opinions are

irrelevant, unreliable, and would mislead the jury.”).

       B.      The Court should also exclude Dr. Butler’s and Mr. Lit’s opinions regarding
               infringement under § 271(f) because it does not require expertise.

       The Court also should exclude Dr. Butler’s and Mr. Lit’s opinions because the only thing

they did state, that a “substantial portion” of the components of the Singapore-manufactured media

was exported from the United States, is based on simple arithmetic that requires no special

expertise and thus would not assist the jury. Under Fed. R. Evid. 702(a), Dr. Butler’s and Mr. Lit’s

assertions about the “substantial portion” issue are not “helpful” (and thus not admissible) because

they have no “valid scientific connection to the pertinent inquiry.” Daubert, 509 U.S. at 591–592.

Indeed, courts regularly exclude expert testimony when the trier of fact “has no need for an opinion

because it easily can be derived from common sense, common experience, the [trier of fact’s] own

perceptions, or simple logic.” Dyer, 2013 WL 5348571, at *12; see also id. (excluding aspects of



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expert report “that merely recount the facts of the case without providing any form of expert

analysis”); Cosenza v. Marshall, 568 F. Supp. 2d 78, 84 (D. Mass. 2007) (expert testimony on

factors contributing to accuracy of eyewitness identification not necessary because it is not

“difficult for the jury to understand the effect of poor lighting”).

        In Life Techs. v. Promega, the Supreme Court held that what constitutes a “substantial

portion of the components of a patented invention” is determined by a “quantitative” analysis—in

other words, it is a counting exercise. 137 S.Ct. 734, 743 (2017). The Court specifically rejected a

“qualitative” analysis—in other words the relative importance of the components being exported.

See, e.g., id. at 741 (“At first blush, there is some appeal to the idea that, in close cases, a subjective

analysis of the qualitative importance of a component may help determine whether it is a

‘substantial portion’ of the components of a patent. But, for the reasons discussed above, the

statute's structure provides little support for a qualitative interpretation of the term.”); see also Dkt.

187 at 132:1–10.




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       Moreover, Dr. Butler and Mr. Lit applied no special knowledge to determine whether the

percentage of exported components was “substantial.”




       As no “scientific, technical, or specialized knowledge” is needed to assess the “substantial

portion” question, the Court should exclude Dr. Butler’s and Mr. Lit’s opinions on this issue.

Janssen’s proffer of Dr. Butler and Mr. Lit on this issue is an improper attempt to place an “expert

sheen on matters well within the jury’s own ordinary experience and common sense,” Dyer, 2013

WL 5348571, at *12, which Courts agree is prejudicial. Pires, 642 F.3d at 12.

       C.      The Court should exclude Dr. Butler’s analysis because he admits he
               performed no analysis.

       Dr. Butler’s purported opinions on 271(f)(1) also should be excluded because he performed

no analysis of his own and simply copied the relevant text from Mr. Lit’s report, which was served

three days earlier. Courts regularly exclude “me too” expert testimony, which adopts the opinions

of another expert wholesale. See, e.g., Burst, 120 F. Supp. 3d at 554; Mooring Capital Fund, LLC

v. Phoenix Cent., Inc., No. CIV–06–0006–HE, 2009 WL 4263359, at *5 (W.D. Okla. Feb. 12,




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2009); Threet v. Corr. Health Care Mgmt. of Oklahoma, Inc., No. CIV-07-0943-HE, 2009 WL

3335596, at *5 (W.D. Okla. Oct. 15, 2009).




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       Because Dr. Butler is merely regurgitating Mr. Lit’s analysis with respect to the

“substantial portion” issue, the Court should exclude it.

V.     CONCLUSION

       Dr. Butler’s and Mr. Lit’s opinions regarding 35 U.S.C. § 271(f)(1) fail to apply the full

legal standard and their analysis consists of no more than counting and dividing one number by

another. Further, Dr. Butler merely read and agreed with Mr. Lit’s supplemental opinions, rather

than doing any “work” of his own. As such, the Court should preclude both from opining on issues

under section 271(f)(1).




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Dated: May 4, 2018                 Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/ Andrea L. Martin, Esq.
                                   Dennis J. Kelly (BBO # 266340)
                                   Andrea L. Martin (BBO #666117)
                                   BURNS & LEVINSON LLP
                                   125 Summer Street
                                   Boston, MA 02110-1624
                                   Telephone: 617-345-3000
                                   Facsimile: 617-345-3299
                                   dkelly@burnslev.com
                                   amartin@burnslev.com

                                   James F. Hurst, P.C. (pro hac vice)
                                   Bryan S. Hales, P.C. (pro hac vice)
                                   Elizabeth A. Cutri (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   300 North LaSalle
                                   Chicago, IL 60654
                                   Tel: (312) 862-2000
                                   james.hurst@kirkland.com
                                   bryan.hales@kirkland.com
                                   elizabeth.cutri@kirkland.com

                                   Ryan Kane (pro hac vice)
                                   James McConnell (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
                                   New York, NY 10022
                                   ryan.kane@kirkland.com
                                   james.mcconnell@kirkland.com

                                   Noah S. Frank (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., N.W.
                                   Washington, DC 20005
                                   noah.frank@kirkland.com

                                   Charles B. Klein (pro hac vice)
                                   WINSTON & STRAWN LLP
                                   1700 K Street, N.W.



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                              Washington, D.C. 20006-3817
                              Tel: (202) 282-5000
                              cklein@winston.com

                              Samuel S. Park (pro hac vice)
                              Dan H. Hoang (pro hac vice)
                              WINSTON & STRAWN LLP
                              35 W. Wacker Drive
                              Chicago, IL 60601-9703
                              Tel: (312) 558-7931
                              spark@winston.com
                              dhoang@winston.com

                              Attorneys for Defendants Celltrion Healthcare
                              Co., Ltd., Celltrion, Inc., and Hospira, Inc.




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